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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                          §
                                §
GARRISON MUNICIPAL PARTNERS, LP §                                Case No. 14-32867
                                §                                   (Chapter 7)
    DEBTOR.                     §
                                §


         CHAPTER 7 TRUSTEE’S MOTION UNDER 11 U.S.C. §§ 105(A) AND 363,
           BANKRUPTCY RULES 6004 AND 9019 AND LOCAL RULE 9013-1
                      FOR APPROVAL OF SETTLEMENT

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
         THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
         HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
         HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
         MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
         THE MOTION AT THE HEARING.

         REPRESENTED          PARTIES       SHOULD        ACT     THROUGH         THEIR
         ATTORNEY.

         A HEARING ON THIS MOTION HAS BEEN SCHEDULED FOR
         SEPTEMBER 7, 2017, AT 10:00 A.M. BEFORE THE HONORABLE
         KAREN K. BROWN, U.S. BANKRUPTCY COURT, 515 RUSK,
         COURTROOM 403, HOUSTON, TEXAS 77002.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Rodney D. Tow, the chapter 7 Trustee (the “Trustee”) of the chapter 7 estate of Garrison

Municipal Partners L.P. (the “Partnership” or “Debtor”) files this motion (the “Motion”) for
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entry of an order substantially in the form attached hereto (the “Proposed Order”), pursuant to

§§ 105 and 363 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 6004 and

9019 of the Federal Rules of Bankruptcy Procedure and Bankruptcy Local Rule 9013-1 for the

United States Bankruptcy Court for the Southern District of Texas (“Local Rules”), for approval

of the mediated settlement agreement (the “Mediated Settlement Agreement”), attached hereto as

Exhibit A, between the Trustee and the Investor Plaintiffs1 (the “Settling Parties”) and

respectfully states as follows:

                                    JURISDICTION AND VENUE

       1.       This Bankruptcy Court has jurisdiction over this Motion pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B), and (O).

The Trustee consents to the entry of a final order by the Bankruptcy Court in connection with

this Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

       2.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.       The statutory predicates for the relief sought herein are 11 U.S.C. §§ 105(a) and

363, Bankruptcy Rules 6004 and 9019, and Local Rule 9013-1.




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       The Investor Plaintiffs are J.P. Bryan, Bryan Consolidated Business Interests, Ltd., JP and Mary Jon Bryan
       Foundation, Mary Jon Bryan, Margaret Vonder Hoya, HRB Global, Ltd., Margaret Vonder Hoya Trust,
       HRB Oil & Gas, Ltd, Michael J. Maples, Sr., Michael J. Maples, Jr., MJMJR, Ltd., Elizabeth Maples, The
       Maples Descendants Trust, Margaret Vonder Hoya Grandchildrens Trust, Nathan Bright Petty 2012 Trust,
       Margaret Louise Petty Morris 2012 Trust, Elizabeth Carrie Petty 2012 Trust, Bradford Clay Vonder Hoya
       2012 Trust, and Margaret Louise Bright Petty Testamentary Trust.

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                                           BACKGROUND

       4.      The Debtor is a limited partnership organized in February 2008 under the laws of

the State of Texas. The primary objective of the Partnership was to invest in the municipal bond

market.

       5.      On May 22, 2014 (the “Petition Date”), the Debtor filed a voluntary petition

under chapter 7 of the Bankruptcy Code with the United States Bankruptcy Court for the

Southern District of Texas, Houston Division (the “Bankruptcy Court”).

       6.      After the Petition Date, the United States Trustee appointed Rodney D. Tow to

serve as the duly-qualified and acting Chapter 7 trustee of the Debtor’s estate.

       7.      Since his appointment, the Trustee has liquidated the Debtor’s assets in

accordance with the duties set out in section 704(a)(1) of the Bankruptcy Code.

       8.      The Trustee retained Cooper & Scully P.C. as special counsel (“Special Counsel”)

to prosecute, among other things, malpractice claims held by the Debtor. These malpractice

claims include malpractice claims against LaPorte, the Debtor’s prepetition accounting

professional (the “LaPorte Litigation”).

       9.      With the Bankruptcy Court’s approval, the Trustee previously settled the LaPorte

Litigation (the “LaPorte Litigation Settlement”), with a specified settlement amount (the

“Settlement Amount”) [Dockets Nos. 242 and 250]. The Settlement Amount is held by LaPorte.

       10.     On May 3, 2017, the Bankruptcy Court signed an order approving the LaPorte

Litigation Settlement in all respects [Docket No. 250] (the “LaPorte Settlement Order”).

       11.     Pursuant to the LaPorte Settlement Order, the Trustee and the Investor Plaintiffs

entered into mediation to determine the allocation of the Settlement Amount between the

Debtor’s estate and the Investor Plaintiffs (the “LaPorte Mediation”).



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        12.    The purpose of this Motion is to seek Bankruptcy Court approval of the Mediated

Settlement Agreement reached at the LaPorte Mediation.

                 BACKROUND OF THE MEDIATED SETTLEMENT AGREEMENT

        13.    The Partnership is a pooled investment fund that received $41,143,794.59 in cash

investments from 18 limited partner investors (individually the “Investors”).

        14.    The Investor Plaintiffs do not include all the Investors. Specifically, the Investor

Plaintiffs do not include Donald J. Green, Donna Reeder, Marathon Financial Insurance

Company, Jay Steven Adelson, Robert Kevin Rose, and Patricia Thomas.

    A. Garrison’s Fraudulent Mark-Up Practice and Improper Payment of Fees

        15.    Since the inception of the Partnership, Charles Monroe Garrison (“Monroe

Garrison”) represented to the Investors that the Partnership would invest primarily in municipal

securities.   However, notwithstanding these representations, Monroe Garrison caused the

Partnership to invest in highly speculative securities that were not readily marketable.

        16.    Monroe Garrison caused the Partnership to “value” these non-marketable

securities in its books in amounts that far exceeded the amount paid for such investments.

Specifically, Monroe Garrison would cause the Partnership to purchase certain bonds at below

par and then would immediately mark them up to par.

        17.    As a result of Monroe Garrison’s use of inflated valuations, the books and records

of the Partnership incorrectly showed the Partnership’s investments were realizing substantial

returns, when there was no actual return occurring.




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   B. LaPorte Failed to Identify Fraud

       18.     LaPorte was retained by the Debtor to provide financial reporting and auditing

services. LaPorte did not report relevant facts in the various financial statements it prepared and

did not identify the Partnership’s fraudulent practice of marking-up securities.

       19.     Based on the financial statements audited by LaPorte, the Partnership and Monroe

Garrison took millions of dollars in improper performance and management fees and lost the

Investor Plaintiffs’ money.

   C. Investor Plaintiffs’ Suit against LaPorte

       20.     On October 18, 2013, before the Partnership filed for bankruptcy, the Investor

Plaintiffs commenced a law suit entitled J. P. Bryan and Margaret Vonder Hoya v. Garrison

Municipal Partners, LP, CMG Management, LP, General Partner, and Charles Monroe

Garrison, Case No. 2013-63132, in the District Court of Harris County, Texas, 164th Judicial

District, alleging that Monroe Garrison placed the Investors Plaintiffs in unsuitable and illiquid

investments and charged excessive management and performance fees.

       21.     On July 16, 2014, after the Debtor filed for bankruptcy, the Investor Plaintiffs

commenced a lawsuit entitled J.P. Bryan, Bryan Consolidated Business Interests, Ltd., JP and

Mary Jon Bryan Foundation, Mary Jon Bryan, Margaret Vonder Hoya, HRB Global, Ltd.,

Margaret Vonder Hoya Trust, HRB Oil & Gas, Ltd, Michael J. Maples, Sr., Michael J. Maples,

Jr., MJMJR, Ltd., Elizabeth Maples, The Maples Descendants Trust, Margaret Vonder Hoya

Grandchildrens Trust, Nathan Bright Petty 2012 Trust, Margaret Louise Petty Morris 2012

Trust, Elizabeth Carrie Petty 2012 Trust, and Bradford Clay Vonder Hoya 2012 Trust And

Margaret Louise Bright Petty Testamentary Trust v. Laporte, a Professional Accounting




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Corporation, Case No. 2014-40948 in the District Court of Harris County, Texas, 164th Judicial

District, based on LaPorte’s failure to identify Monroe Garrison’s fraudulent mark-up scheme.

    D. Trustee’s Claims against Garrison Parties and LaPorte

        22.      The Trustee and his Special Counsel investigated the affairs of the Debtor to

determine the claims the Debtor’s estate had against LaPorte.

        23.      Special Counsel pursued the Debtor’s estate’s claims against LaPorte and

participated in settlement negotiations resulting the LaPorte Litigation Settlement. See Docket

No. 242.

    E. Mediated Settlement Agreement Between the Trustee and Investor Plaintiffs

        24.      Pursuant to the LaPorte Settlement Order approving the LaPorte Litigation

Settlement in all respects, the Trustee and the Investor Plaintiffs agreed to enter into the LaPorte

Mediation before the Honorable U.S. Bankruptcy Judge Marvin Isgur to determine the allocation

of the Settlement Amount between the Debtor’s estate and the Investor Plaintiffs.

        25.      The Trustee and the Investor Plaintiffs entered into the LaPorte Mediation,

resulting in the mutually agreeable Mediated Settlement Agreement, which was signed on June

20, 2017.

        26.      The Trustee has determined in the exercise of his sound judgment that entry into

the Mediated Settlement Agreement is an equitable result, reasonable, fair and in the best interest

of creditors.

                SUMMARY OF THE MEDIATED SETTLEMENT AGREEMENT

        27.      The key terms of the Settlement are: 2

                 a. Consideration. TWO MILLION EIGHT HUNDRED FIFTY THOUSAND
                    Dollars ($2,850,000.00) will be paid to the Investor Plaintiffs from the

2
        This is a summary of the terms of the Mediated Settlement Agreement and reference should be made to the
        Mediated Settlement Agreement for the full terms.

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         Settlement Amount. ¶ 2(a). This figure represents: (i) ONE MILLION SIX
         HUNDRED FIFTEEN THOUSAND Dollars ($1,615,000.00) of the Investor
         Plaintiffs’ interest in the Settlement Amount; (ii) SIX HUNDRED
         THOUSAND Dollars ($600,000.00) for the Investor Plaintiffs’ substantial
         contribution claim; and (iii) an estimated recovery of current distributions on
         account of the Investor Plaintiffs’ equity interest in the estate. As part of the
         Mediated Settlement Agreement, the Trustee will transfer to the Investor
         Plaintiffs all of the Debtor’s interest in the estate’s claims against Monroe
         Garrison, et al in civil action 4:14:cv-02439. ¶ 2(b).

      b. Trustee’s Fee. The Debtor’s estate is deemed to receive ONE MILLION SIX
         HUNDRED FIFTEEN THOUSAND Dollars ($1,615,000.00) of the
         Settlement Amount. Any Settlement Amount that is held in escrow that is not
         distributed to the Investor Plaintiffs will be distributed to the Trustee for the
         benefit of the estate. The Trustee will limit his statutory fee to THIRTY-
         THREE THOUSAND THREE HUNDRED THIRTY-THREE Dollars
         THIRTY-THREE Cents ($33,333.33) out of the LaPorte Litigation
         Settlement, and may seek such additional fees as are appropriate from other
         estate distributions. ¶ 3.

      c. Special Counsel’s Fee. Special Counsel will limit its fees and expenses to
         TWO HUNDRED SEVENTY-FIVE THOUSAND Dollars ($275,000.00) out
         of the LaPorte Litigation Settlement, and may seek such additional fees as are
         appropriate from other estate distributions. ¶ 4.

      d. Allowed General Unsecured Claims. The Trustee will pay all allowed
         general unsecured claims in full. ¶ 5.

      e. Excess Distributions. The Investor Plaintiffs will forego any distributions
         from the settlement or cash on hand in excess of TWO MILLION EIGHT
         HUNDRED FIFTY THOUSAND Dollars ($2,850,000.00), except if the estate
         recovers additional cash or other assets above and beyond the cash on hand on
         June 20, 2017 and the amounts the estate receives under this LaPorte
         Litigation Settlement. If such additional amounts are received, then the
         Investor Plaintiffs shall be entitled to receive their pro-rata distribution with
         the other equity holders, which is approximately 74%. ¶ 8.

      f. The Trustee will request that LaPorte’s insurer pay the TWO MILLION
         EIGHT HUNDRED FIFTY THOUSAND Dollar ($2,850,000.00) payment
         directly to counsel for the Investor Plaintiffs, Michael Durrschmidt. Any such
         payments received by Michael Durrschmidt will be held in trust until fifteen
         (15) days after entry of the order approving this settlement. ¶ 9.

      g. All Claims Released. The Trustee and the Debtor fully release the Investor
         Plaintiffs. The Investor Plaintiffs fully release the Trustee and the Debtor,



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                   except for the obligations in the Mediated Settlement Agreement and the
                   rights, if any, to excess distributions. ¶ 10.

                                       BASIS FOR RELIEF

       28.     Congress explicitly provided mechanisms in the Bankruptcy Code to encourage

settlements. “One of the goals of Congress in fashioning the Bankruptcy Code was to encourage

parties in a distress situation to work out a deal among themselves.” In re Mirant Corp., 334 B.R.

800, 811 (Bankr. N.D. Tex. 2005). “Compromises are favored in bankruptcy” because they

minimize litigation costs and further the parties’ interest in expediting the administration of a

bankruptcy case. In re Martin, 91 F.3d 389, 393 (3d Cir. 1996) (quoting 9 COLLIER ON

BANKRUPTCY ¶ 9019.03[1] (15th ed. Rev. 1993)).

       29.     Bankruptcy Rule 9019 governs the procedural requirements to be followed before

a settlement may be approved. Bankruptcy Rule 9019(a) provides in relevant part that: “[o]n

motion by the trustee and after notice and a hearing, the court may approve a compromise and

settlement.” FED. R. BANKR. P. 9019(a). Bankruptcy Rule 9019(a) empowers a bankruptcy

court to approve compromises and settlements if they are “fair and equitable and in the best

interest of the estate.” In re Cajun Elec. Power Coop., Inc., 119 F.3d 349, 355 (5th Cir. 1997); In

re Foster Mortg. Corp., 68 F.3d 914, 917 (5th Cir. 1995). Moreover, Bankruptcy Code section

105(a) provides in pertinent part that “[t]he court may issue any order, process, or judgment that

is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

       30.     Approval of a proposed settlement is left to the sound discretion of the reviewing

court. See, e.g., In re Hibbard Brown & Co., Inc., 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998)

(noting that courts should exercise their discretion “in light of the general public policy favoring

settlements”). The burden of establishing the fairness of a compromise rests on the proponent(s)

of the compromise; however, a debtor is not required to present a full mini-trial or evidentiary


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hearing to adjudicate the issues being settled. Rather, when determining whether to approve a

compromise, the court “is not to decide the numerous questions of law and fact raised” by the

compromise, but is “to canvass the issues and see whether the settlement falls below the lowest

point in the range of reasonableness.” In re W.T. Grant Co., 699 F.2d 599, 608 (2d Cir. 1983)

(internal citations omitted); In re Mirant Corp., 348 B.R. at 743.

       31.     A bankruptcy court should approve a settlement under Rule 9019 if the settlement

is within a range of reasonableness, fair and equitable, and in the best interest of the bankruptcy

estate. “In deciding whether a settlement of litigation is fair and equitable, a judge in bankruptcy

must make a well-informed decision, comparing the terms of the compromise with the likely

rewards of litigation.” In re Cajun Elec., 119 F.3d at 356 (citations omitted); see also Protective

Comm. for Indep. Stockholders of TMT Trailer Ferr, Inc. v. Anderson, 390 U.S. 414, 424 (1968);

United States v. AWECO, Inc. (In re AWECO, Inc.), 725 F.2d 293, 298 (5th Cir. 1984); Rivercity

v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980).             Moreover, a

bankruptcy court need not be convinced that the proposed settlement is the best possible, but

“need only conclude that the settlement falls within the reasonable range of litigation

possibilities somewhere above the lowest point in the range of reasonableness.” In re Nutritional

Sourcing Corp., 398 B.R. 816, 833 (Bankr. D. Del. 2008).

       32.     The Fifth Circuit has directed that, in determining whether to approve a proposed

settlement, a Bankruptcy Court must evaluate the following factors: (1) the probability of success

in the litigation, with due consideration for the uncertainty in fact and law, (2) the complexity

and likely duration of the litigation and any attendant expense, inconvenience and delay, and

(3) all other factors bearing on the wisdom of the compromise. In re Age Ref. Inc., 801 F.3d 530,

540 (5th Cir. 2015); In re Jackson Brewing Co., 624 F.2d at 602.



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       33.      Under the third, catch-all provision, the Fifth Circuit has specified two additional

factors. First, the court should consider the best interests of the creditors, “with proper deference

to their reasonable views.” In re Foster Mortg. Corp., 68 F.3d at 917. Second, the court should

consider “the extent to which the settlement is truly the product of arms-length bargaining, and

not of fraud or collusion.” Id. at 918 (internal citations omitted).

       34.     The Trustee believes that the proposed settlement satisfies the requirements

established by the Supreme Court in TMT Trailer and further defined by the Fifth Circuit Court

of Appeals.

                          ANALYSIS OF PROPOSED COMPROMISE

   A. The Mediated Settlement Agreement Falls Within the Range of Reasonableness.

       35.     The Trustee has weighed the reasonableness factors for purposes of Bankruptcy

Rule 9019 and submits that the Mediated Settlement Agreement falls within the range of

reasonableness for the reasons articulated below.

       36.     The Mediated Settlement Agreement provides a fair procedure for the Trustee to

recover its share of the Settlement Amount for the Debtor’s estate while minimizing further

expenses of litigation.

   B. The Probability of Success in the Litigation, with Due Consideration for the
      Uncertainty in Fact and Law.

       37.     The continued prosecution of the LaPorte Litigation Settlement does not

guarantee a result superior to the result obtained under the Mediated Settlement Agreement. The

hurdles faced by the Trustee now illustrate the complexity of the disputed issues, and the time

and effort that would be necessary to fully litigate them.

       38.     If the Mediated Settlement is not entered into, pursuant to the LaPorte Settlement

Order approving the LaPorte Litigation Settlement, the Trustee and Investor Plaintiffs must enter


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into an arbitration (the “LaPorte Arbitration”) to determine the allocation of the Settlement

Amount.

       39.     In the LaPorte Arbitration, an arbitrator would determine the amount the Investor

Plaintiffs’ claims against LaPorte and determine the amount of the Debtor’s estate’s claims

against LaPorte. The arbitrator would then make an award of the Settlement Amount based on a

pro-rata distribution of the determined claims.

       40.     The Trustee cannot be certain of the results of the LaPorte Arbitration. This

factor weighs in favor of entering into the Mediated Settlement Agreement. This factor also

supports the Trustee’s position that the Mediated Settlement Agreement falls within the

reasonable range of litigation possibilities somewhere above the lowest point in the range of

reasonableness.

       41.     The entry into the Mediated Settlement Agreement is expected to result in the fair

and orderly administration of numerous claims against the Debtor’s estate, as well as increasing

the cash available to the Trustee for distribution to creditors in accordance with the waterfall

provided for under Bankruptcy Code section 727.

   C. The Complexity and likely Duration of the Litigation and any Attendant Expense,
      Inconvenience and Delay.

       42.     The LaPorte Arbitration would involve complex legal issues relating to damages,

causation, and apportionment of liability among the parties. Pursuit of the LaPorte Arbitration to

a judgment may take many months or even years. As a result, the LaPorte Arbitration is likely to

be complex and protracted.

       43.     The attendant costs of the LaPorte Arbitration will also be significant. In addition

to the costs of discovery and motion practice, the Trustee would need to retain experts and create




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a damage model that prevails over the experts LaPorte and the Investor Plaintiffs would likely

retain.

          44.   Therefore, the Trustee and his professionals believe that entry into the Mediated

Settlement Agreement at this time is in the best interest of the estate.

                                          CONCLUSION

          45.   The Trustee submits that the Mediated Settlement Agreement satisfies the

requirements established under Bankruptcy Rule 9019, the Supreme Court in TMT Trailer, and

applicable Fifth Circuit law. In light of these considerations, the Trustee believes that the

proposed compromise falls well within the range of reasonableness, especially in light of the

practical reality that “compromises are . . . often times desirable and wise methods of bringing to

a close proceedings otherwise lengthy, complicated and costly.” In re Jackson Brewing Co., 624

F.2d at 602 (quoting Case v. Los Angeles Lumber Prods. Co., 308 U.S. 106, 130 (1939)).

          WHEREFORE, the Trustee respectfully requests that the Bankruptcy Court enter an

order in the form attached hereto (i) approving the Trustee’s settlement with the Investor

Plaintiffs set out in the Mediated Settlement Agreement and the Proposed Order, and (ii)

granting such other and further relief to which the Trustee may be entitled.




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DATED: August 3, 2017
                                          Respectfully submitted,

                                          DIAMOND MCCARTHY, LLP

                                          /s/ Charles M. Rubio
                                          Kyung S. Lee
                                          State Bar No. 12128400
                                          Charles M. Rubio
                                          State Bar No. 24083768
                                          Diamond McCarthy, LLP
                                          909 Fannin Street, 15th Floor
                                          Two Houston Center
                                          Houston, Texas 77010
                                          Telephone: (713) 333-5100
                                          Facsimile: (713) 333-5195

                                          GENERAL COUNSEL TO
                                          RODNEY D. TOW, TRUSTEE

                                          -and-

                                          COOPER & SCULLY, P.C.
                                          Timothy Micah Dortch
                                          State Bar No. 24044981
                                          R. Brent Cooper
                                          State Bar No. 04783250
                                          900 Jackson Street, Suite 100
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                                          -and-

                                          COOPER & SCULLY, P.C.
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                                          Houston, Texas 77002
                                          Telephone: (713) 236-6800
                                          Facsimile: (713) 236-6880

                                          SPECIAL COUNSEL TO
                                          RODNEY D. TOW, TRUSTEE




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                                CERTIFICATE OF SERVICE

        I certify that on August 3, 2017, a true and correct copy of the foregoing document was
served by (i) the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas to all parties registered to receive such service; and (ii) an unredacted
true and correct copy of the foregoing document was within one business day transmitted to the
parties listed on the attached Service List by the method indicated.



                                                     /s/ Charles M. Rubio
                                                     Charles Rubio


                                Service List via First Class Mail




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        Bryan Consolidated                     Donald J & Kay M. Green                       Elizabeth Maples
      1331 Lamar, Suite 1075                        P.O. Box 1088                           576 Hopkins Street
      Houston, TX 77010-3025                    Alpine, TX 79831-1088                      Menlo Park, CA 94025


           HRB Global                            HRB Oil & Gas, Ltd.                         Jay Steven Adelson
   4311 Oak Lawn Ave. Suite 360              4311 Oak Lawn Ave. Suite 360                     30 Kite Hill Lane
      Dallas, TX 75219-2338                        Dallas, TX 75219-2338                Mill Valley, CA 94941-1458


            J.P. Bryan                     J.P. & Mary Jon Bryan Foundation               Margaret Vonder Hoya
      1331 Lamar, Suite 1075                     1331 Lamar, Suite 1075                4311 Oak Lawn Ave. Suite 360
      Houston, TX 77010-3025                    Houston, TX 77010-3025                    Dallas, TX 75219-2338


     MVH Grandchildren's Trust                Margaret Vonder Hoya Trust                     Mary Jon Bryan
     Chris Vonder Hoya, Trustee              4311 Oak Lawn Ave. Suite 360                 1331 Lamar, Suite 1075
   4311 Oak Lawn Ave., Suite 360                Dallas, TX 75219-2338                     Houston, TX 77010-3025
       Dallas, TX 75219-2338


          Mike Maples, Jr.                         Mike Maples, Sr.                            MJMJR, Ltd.
    820 Ramona Street, Suite 200                   8609 Navidad Dr.                     820 Ramona Street, Suite 200
     Palo Alto, CA 94301-2734                    Austin, TX 78735-1468                   Palo Alto, CA 94301-2734


                                                                                    Bradford Clay Vonder Hoya 2012 Trust
       Patricia Thomas IRA                        Robert Kevin Rose                       c/o Michael J Durrschmidt
         5735 Indian Circle                         47 N 4th Place                        Hirsch & Westheimer, PC
     Houston, Texas 77057-1302                 Brooklyn, NY 11249-3104                    1415 Louisiana, 36th Floor
                                                                                            Houston, Texas 77002


                                          Margaret Louise Petty Morris 2012 Trust       Margaret Louise Bright Petty
  Elizabeth Carrie Petty 2012 Trust            c/o Michael J Durrschmidt                     Testamentary Trust
By and through its Trustee, Christopher        Hirsch & Westheimer, PC                   c/o Michael J Durrschmidt
      c/o Michael J Durrschmit                 1415 Louisiana, 36th Floor                Hirsch & Westheimer, PC
     1415 Louisiana, 36th Floor,                 Houston, Texas 77002                   1415 Louisiana, 36th Floor
         Houston, TX 77002                                                                 Houston, Texas 77002


    Nathan Bright Petty 2012 Trust
      c/o Michael J Durrschmidt
      Hirsch & Westheimer, PC
     1415 Louisiana, 36th Floor
        Houston, Texas 77002



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                              Exhibit A

                    Mediated Settlement Agreement




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     PROPOSED ORDER
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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                          §
                                §
GARRISON MUNICIPAL PARTNERS, LP §                                            Case No. 14-32867
                                §                                               (Chapter 7)
    DEBTOR.                     §
                                §

             ORDER APPROVING CHAPTER 7 TRUSTEE’S MOTION UNDER
             BANKRUPTCY RULE 9019 FOR APPROVAL OF SETTLEMENT

         Upon the motion (the “Motion”) of Rodney D. Tow, the Chapter 7 Trustee (the

“Trustee”) of Garrison Municipal Partners L.P. (the “Debtor”) for entry of an order (this

“Order”), (a) approving the Trustee’s entry into the Mediated Settlement Agreement with the

Investor Plaintiffs1 (collectively, the “Settling Parties”), and (b) authorizing the Settling Parties

to execute and deliver the Mediated Settlement Agreement and to take all actions contemplated

by and reasonably necessary to implement the Mediated Settlement Agreement, as more fully set

in the Motion; and the Bankruptcy Court having found that it has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and the Bankruptcy Court having found that this is a

core proceeding pursuant to 28 U.S. C. § 157(b)(2); and the Bankruptcy Court having found that

the venue of this case and the Motion in this district is proper pursuant to §§ 1408 and 1409; and

the Bankruptcy Court having found that the relief requested in the Motion is in the best interest

of the Debtor’s chapter 7 estate, its creditors and other parties in interest; and the Bankruptcy

Court having found that the Trustee provided appropriate notice of the Motion and the

opportunity for a hearing on the Motion under the circumstances; and the Bankruptcy Court

having reviewed the Motion, considered the evidence adduced at a hearing before the Court (the


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         Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.

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“Hearing”) and the oral and written arguments of the parties appearing on the Motion at the

Hearing; and the Bankruptcy Court having determined that the legal and factual basis set forth in

the Motion and at the Hearing establish just cause for the relief granted herein; it is HEREBY

ORDERED THAT:


       1. The Trustee’s entry into the Mediated Settlement Agreement is approved in all

           respects;

       2. To the extent that there are any inconsistencies between this Order and the Mediated

           Settlement Agreement, this Order will control;

       3. TWO MILLION EIGHT HUNDRED FIFTY THOUSAND Dollars ($2,850,000.00)

           will be paid to the Investor Plaintiffs from the Settlement Amount. This figure

           represents: (i) ONE MILLION SIX HUNDRED FIFTEEN THOUSAND Dollars

           ($1,615,000.00) of the Investor Plaintiffs’ interest in the Settlement Amount; (ii) SIX

           HUNDRED THOUSAND Dollars ($600,000.00) for the Investor Plaintiffs’

           substantial contribution claim; and (iii) an estimated recovery of current distributions

           on account of the Investor Plaintiffs’ equity interest in the estate;

       4. The Trustee transfers to the Investor Plaintiffs all of the Debtor’s interest in claims

           against Monroe Garrison, et al in civil action 4:14:cv-02439;

       5. The Debtor’s estate is deemed to receive ONE MILLION SIX HUNDRED FIFTEEN

           THOUSAND Dollars ($1,615,000.00) of the Settlement Amount. Any Settlement

           Amount that is held in escrow that is not distributed to the Investor Plaintiffs will be

           distributed to the Trustee for the benefit of the estate. The Trustee will limit his

           statutory fee to THIRTY-THREE THOUSAND THREE HUNDRED THIRTY-

           THREE Dollars THIRTY-THREE Cents ($33,333.33) out of the LaPorte Litigation


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   Settlement, and may seek such additional fees as are appropriate from other estate

   distributions;

6. Special Counsel to the Trustee will limit its fees and expenses to TWO HUNDRED

   SEVENTY-FIVE THOUSAND Dollars ($275,000.00) out of the LaPorte Litigation

   Settlement, and may seek such additional fees as are appropriate from other estate

   distributions;

7. The Investor Plaintiffs forego any distributions from the settlement or cash on hand in

   excess of TWO MILLION EIGHT HUNDRED FIFTY THOUSAND Dollars

   ($2,850,000.00) except if the estate recovers additional cash or other assets above and

   beyond the cash on hand on June 20, 2017 and the amounts the estate receives on

   account of the LaPorte Litigation Settlement.        If such additional amounts are

   received, then the Investor Plaintiffs shall be entitled to receive their pro-rata

   distribution with the other equity holders, which is approximately 74%;

8. The Trustee will request that LaPorte’s insurer pay the TWO MILLION EIGHT

   HUNDRED FIFTY THOUSAND Dollar ($2,850,000.00) payment directly to counsel

   for the Investor Plaintiffs, Michael Durrschmidt. Any such payments received by

   Michael Durrschmidt will be held in trust until fifteen (15) days after entry of a final

   order;

9. The Trustee and the Debtor fully release the Investor Plaintiffs, except for obligations

   in the Mediated Settlement Agreement. The Investor Plaintiffs fully release the

   Trustee and the Debtor, except for the obligations in the Mediated Settlement

   Agreement;




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10. The Settling Parties are authorized to enter into, perform, execute and deliver all

   documents, and take all actions, necessary to fully implement the terms of this Order

   and the Mediated Settlement Agreement attached hereto as Exhibit A;

11. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order are

   immediately effective and enforceable upon its entry;

12. All time periods set forth in this Order shall be calculated in accordance with

   Bankruptcy Rule 9006(a); and

13. The Bankruptcy Court shall retain exclusive jurisdiction with respect to all matters

   arising from or related to the implementation, interpretation, and enforcement of this

   Order.

Dated this __day of ______________ 2017.




                                    __________________________________________
                                    Karen Brown
                                    United States Bankruptcy Judge




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                              Exhibit A

                    Mediated Settlement Agreement




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